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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                    Plaintiff,             )                   4:08CR3178
                                           )
             V.                            )
                                           )
LATRAIL L. TAYLOR,                         )                     ORDER
                                           )
                    Defendant.             )
                                           )


        IT IS ORDERED that Defendant Taylor’s evidentiary hearing and sentencing are
continued to Friday, July 8, 2011, at 12:30-2:00 p.m., before the undersigned United States
district judge, in Courtroom No. 1, United States Courthouse and Federal Building,
100 Centennial Mall North, Lincoln, Nebraska. The defendant shall be present unless
excused by the court.

      DATED this 10th day of May, 2011.

                                         BY THE COURT:

                                         Richard G. Kopf
                                         United States District Judge
